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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION


                                                    )
MONSTER ENERGY COMPANY, a Delaware                  ) Civil Action No. 2:21-cv-179
corporation,                                        )
                                                    )
               Plaintiff,                           ) DEMAND FOR JURY TRIAL
                                                    )
       v.                                           )
                                                    )
R&R MEDICAL, LLC d/b/a BEAR KOMPLEX,                )
an Indiana limited liability company,               )
                                                    )
               Defendant.                           )



      COMPLAINT FOR TRADEMARK AND TRADE DRESS INFRINGEMENT


       Plaintiff Monster Energy Company (“Plaintiff” or “Monster”), a Delaware corporation,

by and through its undersigned attorneys, files this Complaint against Defendant R&R Medical

LLC, d/b/a Bear KompleX (“Defendant” or “Bear KompleX”), an Indiana limited liability

company, and alleges as follows:

                               JURISDICTION AND VENUE

       1.      This is an action for (1) trademark infringement under 15 U.S.C. § 1114, (2)

trademark infringement, trade dress infringement, and false designation of origin under 15

U.S.C. § 1125(a), (3) trademark dilution under 15 U.S.C. § 1125(c), and (4) Indiana unfair

competition.

       2.      The Court has original subject matter jurisdiction over the federal claims in this

complaint pursuant to 15 U.S.C. §§ 1116 and 1121(a) and 28 U.S.C. §§ 1331 and 1338, as these

claims arise under the trademark laws of the United States.        The Court has supplemental


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jurisdiction over the claims in this Complaint for state common law unfair competition pursuant

to 28 U.S.C. §§ 1338(b) and 1367(a), because the state law claim is so related to the federal

trademark claims that they form part of the same case or controversy and derive from a common

nucleus of operative facts.

        3.       This Court has personal jurisdiction over Defendant. Defendant is based in Lake

County, Indiana. Defendant has also marketed, advertised and promoted its goods in Indiana,

including in this judicial district, via at least its website (https://www.bearkomplex.com/) and

social media sites (including Facebook and Instagram). Further, Defendant has sold its fitness-

related equipment and other products through its website to buyers in Indiana and in this judicial

district.    In addition, Defendant’s trademark infringement, trade dress infringement, false

designation of origin, trademark dilution, and unfair competition in this judicial district,

including its use of infringing marks and trade dress in connection with the advertisement,

marketing, promotion, and/or sale of products to customers in this district, are acts forming a

substantial part of the events or omissions giving rise to Monster’s claims.

        4.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) because a

substantial portion of the events complained of herein took place in the district.

                                          THE PARTIES

        5.       Monster is a corporation organized and existing under the laws of the State of

Delaware, having its principal place of business at 1 Monster Way, Corona, California 92789.

        6.       Monster is informed and believes, and on that basis alleges, that Bear Komplex is

a limited liability company organized and existing under the laws of the State of Indiana, having

a principal place of business at 3300 E. 84th Place, Merrillville, Indiana 46410. Monster is




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informed and believes, and on that basis alleges, that Bear KompleX sells its fitness related

products online to buyers in Indiana and in this judicial district.

               COMMON ALLEGATIONS FOR ALL CLAIMS OF RELIEF

A.     Monster’s Trademarks and Trade Dress

       7.      Monster is a nationwide leader in the business of developing, marketing, selling,

and distributing ready-to-drink beverages, including energy drinks, and related products.

       8.      In 2002, long before Defendant’s infringing activity, Monster launched its

MONSTER ENERGY® drink brand, the containers of which all prominently display Monster’s


now-famous       ® mark, an M-shaped claw design with jagged or irregular contours designed to

evoke a claw having torn through the can or other material (“Claw Icon”). Images of Monster’s

flagship and best-selling original MONSTER ENERGY® drink and packaging, which display

the Claw Icon, are shown below.




       9.      In addition to its Claw Icon, since 2002, Monster has consistently used a

distinctive trade dress for packaging, clothing, bags, sports gear, helmets, and promotional

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materials that includes the colors green and black in combination with Monster’s Claw Icon (the

“Monster Trade Dress”). Examples of the Monster Trade Dress are shown above and below.




       Die Cut Signage                    Hanging Sign                        Poster


As these examples illustrate, the Claw Icon mark often appears in the color green and against a

black or black/gray background.

       10.    Monster is the owner of numerous U.S. Trademark Registrations for marks that

incorporate the Claw Icon, including in connection with the colors green or green and black.

Monster’s U.S. Trademark Registrations include, for example, the following:



   MARK          REG. NO.          GOODS/SERVICES               DATE          REG. DATE
                                                                FILED
                  2,903,214       Drinks, namely,              5/7/2003        11/16/2004
                                  carbonated soft drinks,
                                  carbonated drinks
                                  enhanced with vitamins,
                                  minerals, nutrients,
                                  amino acids and/or herbs,
                                  carbonated and non-
                                  carbonated energy or
                                  sports drinks, fruit juice


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   MARK        REG. NO.      GOODS/SERVICES                DATE       REG. DATE
                                                           FILED
                            drinks having a juice
                            content of 50% or less by
                            volume that are shelf
                            stable, but excluding
                            perishable beverage
                            products that contain fruit
                            juice or soy, whether
                            such products are
                            pasteurized or not
                4,011,301   Sports helmets; video         7/27/2010    8/16/2011
                            recordings featuring
                            sports,
                            extreme sports, and
                            motor sports
                4,721,432   Promoting goods and           3/12/2014    4/14/2015
                            services in the sports,
                            motorsports, electronic
                            sports, and music
                            industries through the
                            distribution of printed,
                            audio and visual
                            promotional materials;
                            promoting sports and
                            music events and
                            competitions for others
                3,434,821   Nutritional supplements       9/7/2007     5/27/2008




                4,625,118   Dairy-based beverages;        6/4/2014    10/21/2014
                            dairy-based energy
                            shakes; energy shakes;
                            coffee energy; shakes;
                            chocolate energy shakes

                            Ready to drink tea and
                            tea based beverages;
                            ready to drink flavored
                            tea, tea based beverages;
                            ready to drink coffee and
                            coffee based beverages;
                            ready to drink flavored


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   MARK        REG. NO.      GOODS/SERVICES              DATE      REG. DATE
                                                         FILED
                            coffee and coffee based
                            beverages; ready to drink
                            chocolate based
                            beverages
                5,580,962   Nutritional supplements;     5/17/18    10/9/18
                            nutritional supplements
                            for purposes of boosting
                            energy; dietary
                            supplemental drinks in
                            the nature of vitamin
                            beverages

                            Sport helmets; video
                            recordings featuring
                            sports, extreme sports
                            and motor sports

                            Silicone wristbands in the
                            nature of bracelets;
                            silicone bracelets;
                            jewelry, namely,
                            bracelets and wristbands;
                            lanyard necklace;
                            watches

                            Stickers, sticker kits
                            comprising stickers and
                            decals; decals; posters;
                            calendars

                            All-purpose sport bags;
                            all-purpose carrying
                            bags; backpacks; duffel
                            bags

                            Clothing, namely, t-
                            shirts, hooded shirts and
                            hooded sweatshirts;
                            sweat shirts, jackets,
                            pants, bandanas, sweat
                            bands, gloves and
                            motorcycle gloves;
                            headgear, namely, hats
                            and beanies


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   MARK        REG. NO.      GOODS/SERVICES              DATE       REG. DATE
                                                         FILED
                            Non-alcoholic beverages,
                            namely, energy drinks,
                            sports drinks, and sports
                            and/or energy drinks
                            enhanced with vitamins,
                            minerals, nutrients,
                            amino acids and/or herbs
                5,022,676   Nutritional supplements     5/28/2014    8/16/2016
                            in liquid form

                            Non-alcoholic beverages,
                            namely, carbonated soft
                            drinks; carbonated drinks
                            enhanced with vitamins,
                            minerals, nutrients,
                            proteins, amino acids
                            and/or herbs; carbonated
                            energy drinks and sports
                            drinks
                3,908,601   Clothing, namely, t-        4/2/2009     1/18/2011
                            shirts, hooded shirts and
                            hooded sweatshirts,
                            sweat shirts, jackets,
                            pants, bandanas, sweat
                            bands and gloves;
                            headgear, namely, hats
                            and beanies
                3,914,828   Sports helmets              4/2/2009     2/1/2011




                5,664,586   Beverageware; insulated     12/4/2017    1/29/2019
                            beverage containers for
                            domestic use; drinking
                            bottles for sports; water
                            bottles sold empty




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   MARK           REG. NO.        GOODS/SERVICES                DATE         REG. DATE
                                                                FILED
                  4,865,702     Nutritional supplements        2/2/2015        12/8/2015
                                in liquid form

                                Non-alcoholic beverages,
                                namely, carbonated soft
                                drinks; carbonated drinks
                                enhanced with vitamins,
                                minerals, nutrients,
                                proteins, amino acids
                                and/or herbs; carbonated
                                energy drinks and sports
                                drinks
                  3,963,668     Stickers; sticker kits        7/27/2010        5/17/2011
                                comprising stickers and
                                decals; decals; posters



                  3,963,669     All purpose sport bags;       7/28/2010        5/17/2011
                                all-purpose carrying
                                bags; backpacks; duffel
                                bags


                  4,051,650     Clothing, namely, t-          7/27/2010        11/8/2011
                                shirts, hooded shirts and
                                hooded sweatshirts,
                                sweat shirts, jackets,
                                pants, bandanas, sweat
                                bands and gloves;
                                headgear, namely hats
                                and beanies




       11.    Attached hereto as Exhibits 1-14 are true and correct copies of Monster’s

trademark registrations identified in Paragraph 10 of this complaint, which are hereby

incorporated by reference. Collectively, Monster’s common law rights in its Claw Icon and its

above-referenced trademark registrations are referred to as the “Asserted Marks.”



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       12.     Pursuant to 15 U.S.C. § 1065, U.S. Trademark Registration Nos. 2,903,214,

4,011,301, 3,434,821, 4,625,118, 3,908,601, 3,914,828, 3,963,668, 3,963,669, and 4,051,650 and

are incontestable.

       13.     As a result of Monster’s substantial and continuous use of its Claw Icon and

Monster Trade Dress, Monster is also the owner of strong common-law trademark rights in its

Claw Icon and strong common-law trade dress rights in its packaging and promotional materials

that incorporate the Monster Trade Dress.

       14.     The MONSTER brand is the best-selling energy drink brand in the United States.

Monster sells drinks bearing its Claw Icon and Monster Trade Dress in over 370,000 retail

outlets in the United States, including convenience stores, gas stations, and grocery stores.

       15.     Monster’s Claw Icon and Monster Trade Dress are the subject of substantial and

continuous marketing and promotion by Monster in connection with its MONSTER line of

drinks. Since Monster launched its MONSTER line of drinks in 2002, over 95% of Monster’s

marketing for the drinks has featured Monster’s green and black trade dress, including in

combination with the Claw Icon with and without the word MONSTER.

       16.     In addition, since 2002, Monster has continuously used and promoted its Claw

Icon and Monster Trade Dress in connection with fitness-related equipment and accessories,

clothing, nutritional supplements, fitness beverages, fitness and athletic events, and numerous

other products and services. Monster widely markets and promotes its Claw Icon and Monster

Trade Dress to consumers by, for example, displaying the Claw Icon and the Monster Trade

Dress extensively on billions of cans of beverages and nutritional supplements; on apparel,

merchandise, and fitness equipment; in gyms and at sporting and athletic events; on promotional

and point-of-sale materials; in magazines and other publications; on the monsterenergy.com



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 website, monsterarmy.com website and other websites and social media sites; and at trade shows,

 concert tours and live events. In addition, Monster promotes the Claw Icon and the Monster

 Trade Dress through, for example, the sponsorship of sports events, athletes, and music festivals

 that are televised nationwide and internationally.

        17.     Since 2003, Monster has promoted, distributed, and sold its products in

 connection with the MONSTER Marks at numerous gyms, fitness clubs, athletic clubs and

 fitness-related events, such as LA Fitness and Equinox gyms, and Max Muscle Sports Nutrition

 events. Monster also sells its beverages in hundreds of fitness-related stores such as GNC.

        18.     Since 2013, Monster has also licensed the Claw Icon to several gyms for use on

 gym equipment. The Claw Icon appears prominently throughout these gyms, including on gym

 equipment, interior gym walls, heavy bags, boxing gloves, cage panels, corner bumpers, banners,

 and mats for MMA cages and boxing rings. Gyms that Monster sponsors or has sponsored

 include the Chainsaw Fitness gym and training center in Vista, California; the American

 Kickboxing Academy gym in San Jose, California; the Sityodtong Muay Thai Academy in

 Sommerville, Maryland; the Alliance Training Center MMA gym in San Diego, California; the

 Huntington Beach Training Center in Huntington Beach, California; the Combat Sports

 Academy MMA, in Dublin, California; and the Syndicate Mixed Martial Arts gym in Las Vegas,

 Nevada. Some examples of the Monster Trade Dress used on gym equipment are shown below:




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        19.    Monster’s trade dress often appears with white design elements, as white tends to

 highlight and emphasize the green and black color scheme that is central to the Monster Trade

 Dress. This can be seen in the images below from Monster-sponsored gyms.




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        20.     In October 2020, Monster was named the 4th Most Marketed Brand in Sports by

 Nielsen and Hookit. Viewers of Monster-sponsored sports events are exposed to the Claw Icon

 and the Monster Trade Dress throughout the entire duration of these events; especially those

 viewers in close proximity to the action, for example (and depending on the event) on banners

 located at the event venues, on the press backdrop, the podium backdrop, athlete uniforms,

 athlete equipment, on transport, support and hospitality tractor trailers, and on banners, posters,

 signs, and on clothing and accessories sold at the events. In addition to exposure on television,

 the Claw Icon and the Monster Trade Dress receive exposure on the Internet and in printed

 publications covering the events.

        21.     Monster has sponsored numerous live sporting events, including being the official

 energy drink partner of the UFC since 2015; the presenting sponsor of the X Games and the

 Winter X Games from 2014 to 2020; hosting the MONSTER ENERGY NASCAR Cup Series

 from 2017 to 2019; being the title sponsor for the MONSTER ENERGY AMA Supercross Series

 since 2008; and others. When Monster sponsors live sporting events, Monster’s Claw Icon and

 Monster Trade Dress are prominently displayed throughout the event, including on banners,

 posters, and hanging curtains throughout the events, on banners lining fields and tracks, and on

 pit areas and hospitality areas of the events, and in commercials throughout events’ TV

 broadcasts and Internet coverage.

        22.     Some examples of Monster’s sponsorship activities in connection with athletic

 and sporting events are shown below.




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        23.    Monster has also sponsored over 500 athletes across various sports, including, but

 not limited to, UFC Champions Ronda Rousey and Connor McGregor; golf superstar Tiger

 Woods; World Champion MotoGP motorcycle racers Valentino Rossi and Jorge Lorenzo; the

 world’s most successful Formula 1 driver Lewis Hamilton; four-time Super Bowl champion Rob

 Gronkowski; and many others. When Monster sponsors an athlete, both sides agree that the

 athlete’s clothing, gear, and equipment will display certain elements of Monster’s brand

 including, for example, the Claw Icon and/or the Monster Trade Dress. Additionally, when

 participating at public appearances, Monster-sponsored athletes almost always wear clothing,

 headwear, helmets, or gear that displays the Monster Claw Icon and Monster Trade Dress.

 Examples of Opposer’s sponsored sporting events and athletes, and clothing bearing the Claw Icon

 the Monster Trade Dress are shown below:




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        24.    Further, Monster provides hospitality at sporting events through a team of

 employees and outside companies known as the Monster Ambassador Team (“MAT”). MAT

 members have conducted promotional giveaways of beverages and/or other items bearing the

 Claw Icon and the Monster Trade Dress at the TD Garden in Boston, at the Barclays Center in

 New York City, at the Staples Center in Los Angeles, at the former Verizon Center (now Capital

 One Arena) in Baltimore, at the American Airlines Center in Dallas, at the American Airlines

 Arena in Miami, and at the Toyota Center in Houston.


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        25.      Since 2002, Monster has spent in excess of $8.5 billion dollars promoting and

 marketing its MONSTER brand, including the Claw Icon and the Monster Trade Dress. From

 2002 to 2016 alone, Monster spent over $4.6 billion dollars advertising, promoting, and

 marketing its MONSTER brand, including the Claw Icon and Monster Trade Dress.

        26.     Monster’s promotional efforts also include using and displaying the Claw Icon

 and Monster Trade Dress on, in, or in connection with widely distributed promotional and point-

 of-sale materials; product samplings; apparel and merchandise; trucks and other vehicles;

 magazines and other industry publications; Monster’s website, social media sites, and other

 Internet websites; attendance at trade shows; and sponsorship of concert tours, live events,

 athletes, athletic teams, and athletic competitions around the world. Some examples of these

 promotional efforts are further described below.

        27.    Monster also widely markets and promotes the Claw Icon and Monster Trade

 Dress to consumers through clothing sales and giveaways. Since 2002, Monster has licensed,

 sold and/or given away millions of items of clothing bearing its Claw Icon and Monster Trade

 Dress. Below are examples of Monster apparel bearing the Monster’s Claw Icon and embodying

 the Monster Trade Dress.




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        28.     Monster’s Claw Icon and Monster Trade Dress also receive extensive publicity

 and exposure through Monster’s websites including its www.monsterenergy.com website and

 social media sites including Monster’s Facebook, Twitter, Instagram, and YouTube accounts.

 As of February 2021, Monster’s Facebook page has over 25 million “likes”; Monster’s YouTube

 page has over 462 million views; Monster’s Twitter page has approximately 3 million followers;

 and Monster’s Instagram page has approximately 7.3 million followers. Monster’s Claw Icon

 and Monster Trade Dress are displayed on these websites and social media sites.

        29.     As a result of Monster’s substantial use and promotion of its Claw Icon and

 Monster Trade Dress in connection with its MONSTER family of products, the mark and trade

 dress have acquired great value as specific identifiers of Monster’s products and serve to identify

 and distinguish Monster’s products from those of others. Customers in this judicial district and

 elsewhere readily recognize Monster’s Claw Icon and Monster Trade Dress as distinctive

 designations of the origin of Monster’s drinks, clothing, sports-and-fitness-related products and

 accessories, and many other products and promotional items. The mark and trade dress are

 intellectual property assets of enormous value as symbols of Monster and of its quality products,

 reputation and consumer goodwill.


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 B.     Defendant’s Activities

        30.    Monster is informed and believes, and on that basis alleges, that Defendant is

 engaged in the business of producing, distributing, marketing, and/or selling fitness-related

 products and apparel. Defendant owns and operates the website www.bearkomplex.com and

 maintains a variety of social media accounts including Facebook and Instagram.

        31.    Without permission or consent from Monster, Defendant has sold, offered to sell,

 and/or marketed sport related equipment and accessories, bags, clothing, and related products

 bearing a logo consisting of a claw design which, like Monster’s Claw Icon, evokes a claw

 having torn through the material on which the mark appears. Defendant also uses its claw mark

 in connection with a green and black color scheme that is confusingly similar to the Monster

 Trade Dress. Examples of Defendant’s sports equipment displaying the infringing claw mark and

 trade dress are shown below.




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        32.     Defendant sells its fitness-related products on its website www.bearkomplex.com.

 Defendant ships belts, bags, grips, apparel and other products throughout the United States,

 including to Indiana.

        33.     Defendant’s products are the same as or closely related to, and competitive with,

 many of the products that display Monster’s Claw Icon and/or Monster Trade Dress, insofar as

 they are fitness equipment or fitness-related products including sports equipment, bags and

 athletic clothing.   Defendant’s and Monster’s fitness-related products also travel in similar

 channels of trade. Defendant’s and Monster’s products are also sold and marketed to the same

 types of customers.     For example, as shown on Defendant’s social media sites, much of

 Defendant’s marketing for its fitness related products focuses on sporting activities and athletic

 events, to which Monster allocates a large proportion of its marketing budget.

        34.     Defendant is aware of Monster and its valuable trademarks and trade dress. On or

 about July 31, 2019, Monster’s counsel sent Defendant a cease and desist letter notifying



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 Defendant of Monster’s trademark rights in, among other things, the Claw Icon and the Monster

 Trade Dress. The letter notified Defendant that the sale of its “Grip, Calicure, & Doc Spartan

 Monster Bundle” and its use of green in proximity to a claw icon on those products infringed

 Monster’s intellectual property rights and demanded that Defendant, inter alia, cease all use of

 Monster’s marks and trade dress. Defendant responded to Monster’s letter on August 13, 2019

 and agreed to remove the use of the term “MONSTER” in connection with its products.

 Defendants also informed Monster that the identified grip used neon yellow, rather than green.

 Monster believed at the time that Defendant was responding in good faith but, in an abundance

 of caution, Monster warned Defendant in an August 26, 2019 letter that any use of Defendant’s

 claw mark in green, or any use of the mark principally in connection with green and black,

 would infringe Monster’s Claw Icon and Monster’s Trade Dress.

        35.      Despite its professed willingness to discontinue infringement, Defendant

 subsequently expanded its offerings of fitness-related products bearing the Defendant’s claw

 mark in green or with green/black color schemes. Defendant also added green claw marks to

 Defendant’s website against principally black or gray backgrounds. Defendant also altered its

 Instagram account to adopt a green-and-black theme in connection with the infringing claw

 mark. Therefore, on June 17, 2020, Monster sent a second letter to Defendant regarding its

 infringement.

        36.      The green-and-black color scheme that Defendant adopted is very similar to the

 color scheme that Monster uses on the homepage of all of Monster’s websites and social-media

 sites. Shown below are screenshots from Monster’s website and from Defendant’s webpage

 displaying the infringing mark.




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       Defendant’s website in October 2019:




       Defendant’s website in June 2020:




       Monster’s website:




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         37.     In subsequent months, Defendant continued to infringe Monster’s trademark and

 trade dress rights, and even expanded its offerings of green-and-black themed products bearing

 Defendant’s claw mark.         Monster again contacted Defendant about its infringement.

 Nonetheless, Defendant added additional infringing products in approximately August 2020.

 One of those new products – a Covid-19 mask – has a green and gray/black claw mark as well as

 a color scheme in which green and black are prominent.

         38.     Monster’s Claw Icon and Monster Trade Dress are famous.             Defendant was

 therefore aware of Monster and its trademarks when it began infringing Monster’s trademark and

 trade dress rights.

         39.     Without permission or consent from Monster, Defendant has infringed Monster’s

 Claw Icon and the Monster Trade Dress in interstate commerce by making, using, promoting,

 advertising, selling, and/or offering to sell fitness related products using marks and a trade dress

 that are confusingly similar to Monster’s marks and trade dress.

         40.     Defendant’s actions alleged herein are intended to cause confusion, mistake or

 deception as to the source of Defendant’s products and are intended to cause consumers and

 potential customers to believe that Defendant’s business and the products that it offers are

 associated with Monster or its family of products or services, when they are not.

         41.     Indeed, Defendant has a duty to avoid confusion with Monster and its marks

 because Defendant entered the market after Monster. Nevertheless, Defendant has purposely

 sold, promoted, marketed and/or distributed its products in a manner that creates a likelihood of

 confusion with Monster and its marks and trade dress.

         42.     By virtue of the acts complained of herein, Defendant has created a likelihood of

 injury to Monster’s business reputation and goodwill, caused a likelihood of consumer



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 confusion, mistake and deception as to the source of origin or relationship between the parties’

 products, and has otherwise competed unfairly with Monster.

        43.      Upon information and belief, Defendant’s unlawful acts are, and have been,

 willful and deliberate.

        44.      Defendant’s unlawful acts have caused damage to Monster in an amount to be

 determined at trial, and such damages will continue to increase unless Defendant is enjoined

 from its wrongful acts of infringement.

        45.      Defendant’s unlawful acts have caused Monster to suffer irreparable injury to its

 business.    Monster will suffer substantial loss of goodwill and reputation unless and until

 Defendant is enjoined from the wrongful acts complained of herein.

                                   FIRST CLAIM FOR RELIEF

                           Trademark Infringement Under 15 U.S.C. § 1114

        46.      Monster hereby repeats, realleges, and incorporates by reference Paragraphs 1-45

 of this complaint as though fully set forth herein.

        47.      This is a claim for trademark infringement arising under 15 U.S.C. § 1114.

        48.      Monster owns valid and enforceable federally registered trademarks for the Claw

 Icon, including at least the registrations listed in Paragraph 10 above.

        49.      Pursuant to 15 U.S.C. § 1065 and 1115(b), U.S. Trademark Registration Nos.

 2,903,214, 4,011,301, 3,434,821, 4,625,118, 3,908,601, 3,914,828, 3,963,668, 3,963,669, and

 4,051,650 are incontestable.

        50.      Defendant has used in commerce, without permission from Monster, a colorable

 imitation and/or confusingly similar mark and trade dress to Monster’s Asserted Marks and

 Monster Trade Dress in connection with the advertising, marketing and/or promoting of



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 Defendant’s fitness related products. Such use is likely to cause confusion or mistake, or to

 deceive.

        51.     Upon information and belief, Defendant’s actions constitute willful and

 intentional infringement of Monster’s registered trademarks, and Defendant performed these

 actions with the intent to trade upon Monster’s reputation and goodwill by causing confusion and

 mistake among customers and the public and by deceiving the public into believing that

 Defendant’s products are associated with, sponsored by, originated from, or approved by

 Monster, when they are not.

        52.     Upon information and belief, Defendant had actual knowledge of Monster’s

 ownership and prior use of the Claw Icon, and has willfully violated 15 U.S.C. § 1114.

        53.     Defendant, by its actions, has caused Monster monetary damage in an amount to

 be determined at trial.

        54.     Defendant, by its actions, has irreparably injured Monster.     Such irreparable

 injury will continue unless Defendant is enjoined by this Court from further violation of

 Monster’s rights, for which Monster has no adequate remedy at law.

                                  SECOND CLAIM FOR RELIEF

                Trademark Infringement, Trade Dress Infringement, and False

                           Designation of Origin Under 15 U.S.C. § 1125(a)

        55.     Monster hereby repeats, realleges, and incorporates by reference Paragraphs 1-54

 of this complaint as though fully set forth herein.

        56.     This is a claim for trademark infringement, trade dress infringement, and false

 designation of origin arising under 15 U.S.C. § 1125(a).




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        57.     As a result of the widespread use and promotion of Monster’s Claw Icon and

 Monster Trade Dress, the marks and trade dress have acquired secondary meaning to consumers

 and potential customers, in that consumers and potential customers have come to associate the

 marks and trade dress with Monster.

        58.     Defendant has infringed Monster’s Asserted Marks and Monster Trade Dress, and

 created a false designation of origin, by using in commerce, without Monster’s permission,

 marks confusingly similar to Monster’s Asserted Marks and a trade dress confusingly similar to

 the Monster Trade Dress, in connection with Defendant’s business and the products offered by

 Defendant.

        59.     Defendant’s actions are likely to cause confusion and mistake, or to deceive as to

 the affiliation, connection, or association of the parties and/or their products, and/or as to the

 origin, sponsorship, or approval of Defendant’s products and/or commercial activities, in

 violation of 15 U.S.C. § 1125(a).

        60.     Defendant acted with the intent to trade upon Monster’s reputation and goodwill

 by causing confusion and mistake among customers and the public and to deceive the public into

 believing that Defendant or the products offered by Defendant are associated with, sponsored by,

 or approved by Monster, when they are not.

        61.     Monster is informed and believes, and on that basis alleges, that Defendant had

 actual knowledge of Monster’s ownership and prior use of the Asserted Marks and Monster

 Trade Dress, and without the consent of Monster, has willfully and intentionally violated 15

 U.S.C. § 1125(a).

        62.     Defendant, by its actions, has caused Monster monetary damage in an amount to

 be determined at trial.



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        63.     Defendant, by its actions, has irreparably injured Monster.       Such irreparable

 injury will continue unless Defendant is enjoined by this Court from further violation of

 Monster’s rights, for which Monster has no adequate remedy at law.

                                  THIRD CLAIM FOR RELIEF

                           Federal Dilution Under 15 U.S.C. § 1125(c)

        64.     Monster hereby repeats, realleges, and incorporates by reference Paragraphs 1-63

 of this Complaint as though fully set forth herein.

        65.     This is a claim for federal trademark dilution arising under 15 U.S.C. § 1125(c).

        66.     Products sold under Monster’s Claw Icon have been widely advertised, promoted,

 and distributed to the purchasing public throughout the United States and the world. By virtue of

 the wide renown acquired by Monster’s Claw Icon, coupled with the national and international

 distribution and extensive sale of various products distributed under the Claw Icon, Monster’s

 Claw Icon is famous, and became so prior to Defendant’s acts complained of herein.

        67.     Defendant’s unauthorized commercial use of its mark and green/black trade dress

 in connection with its business and products has caused and is likely to continue to cause dilution

 of the distinctive qualities of Monster’s famous Claw Icon and Monster Trade Dress.

        68.     Defendant’s acts are likely to tarnish, injure or trade upon Monster’s business,

 reputation or goodwill, and to deprive Monster of the ability to control the use of its Claw Icon

 and Monster Trade Dress, the consumer associations attached to the mark and trade dress, and

 the quality of products associated therewith.

        69.     Monster is informed and believes, and on that basis alleges, that Defendant’s acts

 of dilution have been willful and deliberate.




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        70.     Defendant, by its actions, has caused Monster monetary damage in an amount to

 be determined at trial.

        71.     Defendant, by its actions, has irreparably injured Monster.     Such irreparable

 injury will continue unless Defendant is enjoined by this Court from further violation of

 Monster’s rights, for which Monster has no adequate remedy at law.

                                FOURTH CLAIM FOR RELIEF

                              Unfair Competition Under Indiana Law

        72.     Monster hereby repeats, realleges, and incorporates by reference Paragraphs 1-71

 of this Complaint as though fully set forth herein.

        73.     This claim is for unfair competition under the common law of the State of

 Indiana. Defendant’s unlawful acts constitute trademark and trade dress infringement and unfair

 competition under Indiana common law.

        74.     By virtue of the acts described herein, Defendant has willfully and intentionally

 caused a likelihood of confusion among the purchasing public in this judicial district and

 elsewhere as to the source or sponsorship of Defendant’s products, deceived the public in order

 to “pass off” its products as those of Monster, and traded on Monster’s reputation and good will.

 Defendant has therefore unfairly competed with Monster in violation of Indiana law.

        75.     Defendant’s unlawful acts have caused Monster monetary damage in an amount

 to be determined at trial.

        76.     Defendant has irreparably injured Monster. Such irreparable injury will continue

 unless Defendant is enjoined by this Court from further violation of Monster’s rights, for which

 Monster has no adequate remedy at law.




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        77.       Defendant’s acts of unfair competition are and have been willful and deliberate.

 Accordingly, Monster is entitled to punitive damages under Indiana law, including Ind. Code

 § 34-51-3, et seq.

                                      PRAYER FOR RELIEF

        WHEREFORE, Monster prays for judgment against Defendant as follows:

        A.        That the Court render a final judgment in favor of Monster and against Defendant

 on all claims for relief alleged herein;

        B.        That the Court render a final judgment that Defendant has willfully violated the

 provisions of 15 U.S.C. § 1114 by infringing Monster’s trademark rights in at least the marks

 that are the subject of the registrations listed in Paragraph 10 above;

        C.        That the Court render a final judgment that Defendant has willfully violated the

 provisions of 15 U.S.C. § 1125(a) by infringing Monster’s Asserted Marks, including the Claw

 Icon, by infringing the Monster Trade Dress, and by falsely designating the origin of its

 products;

        D.        That the Court render a final judgment that Defendant has willfully violated 15

 U.S.C. § 1125(c) by diluting Monster’s famous Claw Icon;

        E.        That the Court render a final judgment that Defendant willfully violated Indiana

 common law by unfairly competing with Monster;

        F.        That Defendant, its agents, servants, employees, attorneys, successors, and

 assigns, and all other persons in active concert or participation with Defendant who receive

 actual notice of the injunction by personal service or otherwise, be enjoined from:

             i.   using Monster’s Asserted Marks and/or the Monster Trade Dress, or any other

                  marks or trade dress confusingly similar thereto (including Defendant’s claw logo



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                and trade dress shown above), in connection with Defendant’s business or the

                goods offered by Defendant, including in connection with the advertising,

                promoting, manufacture, distribution, or sale of Defendant’s goods, and/or using

                Monster’s Asserted Marks or the Monster Trade Dress, or any other marks or

                trade dress confusingly similar thereto (including Monster’s claw logo and trade

                dress shown in Paragraphs 8, 9, 19, 19, 22, 23, 27 and 36 above), in any manner

                that is likely to create the impression that Defendant’s goods originate from

                Monster, are endorsed by Monster, are sponsored by Monster, are affiliated with

                Monster, or are connected in any way with Monster;

          ii.   filing any applications for registration of any marks or trade dress confusingly

                similar to Monster’s Asserted Marks or the Monster Trade Dress;

         iii.   otherwise infringing any of Monster’s Asserted Marks or the Monster Trade

                Dress;

         iv.    diluting the distinctive qualities of the Claw Icon or any of Monster’s other

                trademarks;

          v.    falsely designating the origin of Defendant’s goods in any manner suggesting that

                the goods originate from Monster;

         vi.    unfairly competing with Monster in any manner whatsoever; and

        vii.    causing a likelihood of confusion or injury to Monster’s business reputation;

        G.      That Defendant be directed to file with this Court, within 30 days of the

 injunction, a written report describing in detail and under oath the manner in which it has

 complied with the injunction pursuant to 15 U.S.C. § 1116;




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        H.     That Defendant be required to account for and pay to Monster any and all profits

 derived by Defendant by virtue of Defendant’s acts complained of herein;

        I.     That Defendant be ordered to compensate Monster for all damages Monster has

 sustained as a consequence of the acts complained of herein, subject to proof at trial, together

 with prejudgment and post-judgment interest;

        J.     That this case be deemed exceptional, that the amount of the damages be trebled,

 and that the amount of disgorged profits be increased by as many times as the Court deems

 appropriate, pursuant to 15 U.S.C. § 1117;

        K.     That Monster be awarded exemplary and punitive damages under Indiana

 common law;

        L.     That Defendant’s actions be deemed willful;

        M.     That an award of reasonable costs, expenses and attorneys’ fees be awarded to

 Monster pursuant to at least 15 U.S.C. § 1117;

        N.     That Defendant be required to deliver and destroy all devices, literature,

 advertising, goods and other unauthorized materials bearing Monster’s Asserted Marks or the

 Monster Trade Dress, or any confusingly similar marks or trade dress, pursuant to 15 U.S.C.

 § 1118;

        O.     That Monster be awarded restitution and disgorgement; and

        P.     That Monster be awarded such other and further relief as the Court deems just.




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                               DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff Monster Energy

 Company hereby demands a trial by jury on all issues so triable.


                                             Respectfully submitted,

 Dated: May 26, 2021                       By: /s/ James W. Riley, Jr.
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                                                Jaclyn M. Flint (No. 32589-49)
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                                               Ari.Feinstein@knobbe.com

                                               Attorneys for Plaintiff
                                               MONSTER ENERGY COMPANY

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      Int. CL: 32

      Prior U.S. Cls.: 45, 46 and 48
                                                                               Reg. No. 2,903,214
      United States Patent and Trademark Office                                Registered Nov. 16, 2004



                                       TRADEMARK
                                    PRINCIPAL REGISTER




      HANSEN BEVERAGE COMPANY (DELAWARE
         CORPORATION)
      1010 RAILROAD STREET
      CORONA. CA 92882
                                       f          CONTENT OF 50% OR LESS BY VOLUME THAT
                                                  ARE SHELF STABLE, AND WATER. IN CLASS 32
                                                  (U.S. CLS. 45. 46 AND 48).



        FOR: DRINKS. NAMELY, CARBONATED SOFT        FIRST USE 3-27-2002; IN COMMERCE 4-18-2002.
      DRINKS, CARBONATED DRINKS ENHANCED
      WITH VITAMINS, MINERALS. NUTRIENTS. AMI       SER. NO. 78-246,564, FILED 5-7-2003.
      NO ACIDS AND/OR HERBS, CARBONATED AND
      NON-CARBONATED ENERGY OR SPORTS
      DRINKS, FRUIT JUICE DRINKS HAVING A JUICE   GINNY ISAACSON, EXAMINING ATTORNEY
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                                                               HANSEN BEVERAGE COMPANY (DELAWARE CORPORATION)
                                                               SUITE 201


                                                               CORONA, CA 92880

                                                               FOR: SPORTS HELMETS: VIDEO RECORDINGS FEATURING SPORTS, EXTREME SPORTS,
                                                               AND MOTOR SPORTS, IN CLASS 9 (U.S. CLS. 21. 23. 26. 36 AND 38).
   TRADEMARK
                                                               FIRST USE 5-24-2002: IN COMMERCE 6-30-2002.
   PRINCIPAL REGISTER
                                                               THE MARK CONSISTS OF A STYLIZED LETTER "M" IN THE FORM OF A CLAW.


                                                               SER. NO. 85-094.340. FILED 7-27-2010.


                                                               LEIGH LOWRY. EXAMINING ATTORNEY




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   Director of the United States Patent and Trademark Office
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                                    REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                             TRADEMARK REGISTRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
                        DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


        Requirements in the First Ten Years*
        What and When to File:


                   First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                   5th and 6th years after the registration date.   See 15 U.S. C. §§1058, 1141k.    If the declaration is
                   accepted, the registration will continue in force for the remainder of the ten-year period, calculated
                   from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
                   federal court.


                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                   Application for Renewal between the 9th and 10th years after the registration date.*
                   See 15 U.S.C. §1059.                                                    ~

        Requirements in Successive Ten-Year Periods*
        What and When to File:


                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and lOth-year period, calculated from the registration date.*


        Grace Period Filings*


        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.



          The United States Patent and Trademark Office (USPTO) will NOT send you any future notice or
                                           reminder of these filing requirements.


        * ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
        an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directly with the USPTO. The time periods for filing are
        based on the U.S. registration date (not the international registration date).   The deadlines and grace periods
        for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
        See 15U.S.C. §§1058, 1141k. However, owners of international registrations do not file renewal applications
        at the USPTO. Instead, the holder must file a renewal of the underlying international registration at the
        International Bureau of the World Intellectual Property Organization, under Article 7 of the Madrid Protocol,
        before the expiration of each ten-year term of protection, calculated from the date of the international
        registration. See 15U.S.C. § 1 1 4 1j . For more information and renewal forms for the international registration,
        see http ://www. wipo .int/madrid/en/.


        NOTE:     Fees and requirements for maintaining registrations are subject to change.           Please check the
        USPTO website for further information.         With the exception of renewal applications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.




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   Reg. No. 4,721,432                    MONSTER ENERGY COMPANY (DELAWARE CORPORATION)
                                         1 MONSTER WAY
   Registered Apr. 14, 2015 corona, ca 92879

   Int. CI.: 35                          FOR: PROMOTING GOODS AND SERVICES IN THE SPORTS. MOTORSPORTS. ELECTRON
                                         IC SPORTS. AND MUSIC INDUSTRIES THROUGH THE DISTRIBUTION OF PRINTED.
                                         AUDIO AND VISUAL PROMOTIONAL MATERIALS: PROMOTING SPORTS AND MUSIC
   SERVICE MARK                          EVENTS AND COMPETITIONS FOR OTHERS. IN CLASS 35 (U.S. CLS. 100. 101 AND 102).


   PRINCIPAL REGISTER                    FIRST USE 1-4-2003: IN COMMERCE 1-4-2003.


                                         OWNER OF U.S. REG. NOS. 2.903.214. 3,434.822. AND OTHERS.


                                         THE MARK CONSISTS OF THE LETTER "M" IN THE FORM OF A CLAW.


                                         SN 86-219.319. FILED 3-12-2014.


                                         WON TEAK OH. EXAMINING ATTORNEY




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     Director of the United States
     Patent and Trademark Office
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                                    REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                             TRADEMARK REGISTRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
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        Requirements in the First Ten Years*
        What and When to File:


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                   accepted, the registration will continue in force for the remainder of the ten-year period, calculated
                   from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
                   federal court.


                    Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                   Application for Renewal between the 9th and 10th years after the registration date.*
                   See 15 U.S.C. §1059.                                                     ~

        Requirements in Successive Ten-Year Periods*
        What and When to File:


                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and lOth-year period, calculated from the registration date.*


        Grace Period Filings*


        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.


        * ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
        an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
        (USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
        date).   The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
        those for nationally issued registrations.    See 15 U.S.C. §§1058, 1141k.       However, owners of international
        registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
        underlying international registration at the International Bureau of the World Intellectual Property Organization,
        under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated
        from the date of the international registration.   See 15 U.S.C. § 1 1 4 1j .   For more information and renewal
        forms for the international registration, see http://www.wipo.int/madrid/en/.


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        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.


        NOTE:     A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
        owners/holders who authorize e-mail communication and maintain a current e-mail address with the
        USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
        Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
        available at http://www.uspto.gov.




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      Int. CI.: 5

      Prior U.S. Cls.: 6, 18, 44, 46, 51 and 52
                                                                                   Reg. No. 3,434,821
      United States Patent and Trademark Office                                      Registered May 27, 2008



                                                  TRADEMARK
                                                PRINCIPAL REGISTER




      HANSEN BEVERAGE            COMPANY (DELAWARE          OWNER OF U.S.       REG.   NOS.   2,903,214 AND
         CORPORATION)                                     3,134,841.
      550 MONICA CIRCLE
      SUITE 201
                                                            THE MARK CONSISTS OF THE LETTER "M" IN
      CORONA, CA 92880
                                                          THE FORM OF A CLAW.

        FOR: NUTRITIONAL SUPPLEMENTS, IN CLASS
                                                            SER. NO. 77-274,643, FILED 9-7-2007.
      5 (U.S. CLS. 6, 18, 44, 46, 51 AND 52).

        FIRST USE 3-27-2002; IN COMMERCE 4-18-2002.       MICHAEL WIENER, EXAMINING ATTORNEY
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   Reg. No. 4,625,118

   Registered Oct. 21, 2014 corona, ca 92879

   Int. Cls.: 29 and 30
                                               1 MONSTER WAY
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                                               MONSTER ENERGY COMPANY (DELAWARE CORPORATION)




                                               FOR: DAIRY-BASED BEVERAGES: DAIRY-BASED ENERGY SHAKES: ENERGY SHAKES:
                                               COFFEE ENERGY SHAKES; CHOCOLATE ENERGY SHAKES. IN CLASS 29 (U.S. CL. 46).


   TRADEMARK                                   FIRST USE 3-18-2013: IN COMMERCE 3-18-2013.


   PRINCIPAL REGISTER                          FOR:   READY TO DRINK TEA AND TEA BASED BEVERAGES: READY TO DRINK
                                               FLAVORED TEA. TEA BASED BEVERAGES: READY TO DRINK C OFll I AND COl 1 EE
                                               BASED BEVERAGES: READY TO DRINK FLAVORED COFFEE AND COFFEE BASED
                                               BEVERAGES: READY TO DRINK CHOCOLATE-BASED BEVERAGES. IN CLASS 30 (U.S.
                                               CL. 46).


                                               FIRST USE 4-27-2007: IN COMMERCE 4-27-2007.


                                               OWNER OF U.S. REG. NOS. 2.903.214. 3.434.822 AND OTHERS.


                                               THE MARK CONSISTS OF THE LETTER "M" IN THE FORM OF A CLAW.


                                               SER. NO. 86-300.585. FILED 6-4-2014.


                                               GEOFFREY EOSDICK. EXAMINING ATTORNEY
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                                    REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                             TRADEMARK REGISTRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
                        DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


        Requirements in the First Ten Years*
        What and When to File:


                   First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
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                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                   Application for Renewal between the 9th and 10th years after the registration date.*
                   See 15 U.S.C. §1059.                                                    ~

        Requirements in Successive Ten-Year Periods*
        What and When to File:


                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and lOth-year period, calculated from the registration date.*


        Grace Period Filings*


        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.



          The United States Patent and Trademark Office (USPTO) will NOT send you any future notice or
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        at http://www.uspto.gov.




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Reg. No. 5,580,962            Monster Energy Company (DELAWARE CORPORATION)
                              1 Monster Way
Registered Oct. 09, 2018      Corona, CALIFORNIA 92879

                              CLASS 5: Nutritional supplements; nutritional supplements for purposes of boosting energy;
Int. Cl.: 5, 9, 14, 16, 18,   dietary supplemental drinks in the nature of vitamin beverages
25, 32
                              FIRST USE 3-27-2002; IN COMMERCE 3-27-2002
Trademark                     CLASS 9: Sport helmets; video recordings featuring sports, extreme sports and motor sports

Principal Register            FIRST USE 6-30-2002; IN COMMERCE 6-30-2002

                              CLASS 14: Silicone wristbands in the nature of bracelets; silicone bracelets; jewelry, namely,
                              bracelets and wristbands; lanyard necklace; watches

                              FIRST USE 1-14-2010; IN COMMERCE 1-14-2010

                              CLASS 16: Stickers, sticker kits comprising stickers and decals; decals; posters; calendars

                              FIRST USE 1-00-2004; IN COMMERCE 1-00-2004

                              CLASS 18: All-purpose sport bags; all-purpose carrying bags; backpacks; duffel bags

                              FIRST USE 5-24-2002; IN COMMERCE 5-24-2002

                              CLASS 25: Clothing, namely, t-shirts, hooded shirts and hooded sweatshirts; sweat shirts,
                              jackets, pants, bandanas, sweat bands, gloves and motorcycle gloves; headgear, namely, hats
                              and beanies

                              FIRST USE 5-24-2002; IN COMMERCE 5-24-2002

                              CLASS 32: Non-alcoholic beverages, namely, energy drinks, sports drinks, and sports and/or
                              energy drinks enhanced with vitamins, minerals, nutrients, amino acids and/or herbs

                              FIRST USE 3-27-2002; IN COMMERCE 3-27-2002

                              The color(s) green and black is/are claimed as a feature of the mark.

                              The mark consists of a green letter "M" in the form of a claw on a black background.
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                        OWNER OF U.S. REG. NO. 5022676, 3434821, 3434822

                        SER. NO. 87-926,413, FILED 05-17-2018




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       REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
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  Requirements in the First Ten Years*
  What and When to File:

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  Requirements in Successive Ten-Year Periods*
  What and When to File:

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       between every 9th and 10th-year period, calculated from the registration date.*


  Grace Period Filings*

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  Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
  date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
  international registration, see http://www.wipo.int/madrid/en/.

  NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
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Reg. No. 5,022,676         Monster Energy Company (DELAWARE CORPORATION)
                           1 Monster Way
Registered Aug. 16, 2016   Corona, CA 92879

                           CLASS 5: Nutritional supplements in liquid form
Int. Cl.: 5, 32
                           FIRST USE 3-27-2002; IN COMMERCE 4-18-2002
Trademark
                           CLASS 32: Non-alcoholic beverages, namely, carbonated soft drinks; carbonated drinks
Principal Register         enhanced with vitamins, minerals, nutrients, proteins, amino acids and/or herbs; carbonated
                           energy drinks and sports drinks

                           FIRST USE 3-27-2002; IN COMMERCE 4-18-2002

                           The color(s) green is/are claimed as a feature of the mark.

                           The mark consists of a green letter "M" in the form of a claw.

                           OWNER OF U.S. REG. NO. 3134841, 3434822, 2903214

                           SER. NO. 86-979,712, FILED 05-28-2014

                           GEOFFREY A FOSDICK, EXAMINING ATTORNEY
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       REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
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  Requirements in Successive Ten-Year Periods*
  What and When to File:

       You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
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  Grace Period Filings*

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  Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
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  Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
  available at http://www.uspto.gov.




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   Reg. No. 3,908,601                                          HANSEN BEVERAGE COMPANY (DELAWARE CORPORATION)
                                                               550 MONICA CIRCLE SUITE 201
   Registered Jan. 18, 2011 corona, ca 92880

   Int. CI.: 25                                                FOR: CLOTHING, NAMELY, T-SHIRTS, HOODED SHIRTS AND HOODED SWEATSHIRTS,
                                                               SWEAT    SHIRTS,       JACKETS,    PANTS,   BANDANAS,   SWEAT BANDS AND   GLOVES;
                                                               HEADGEAR, NAMELY, HATS AND BEANIES , IN CLASS 25 (U.S. CLS. 22 ANT) 39).
   TRADEMARK
                                                               FIRST USE 5-24-2002; IN COMMERCE 6-30-2002.
   PRINCIPAL REGISTER
                                                               OWNER OF U.S. REG. NOS. 3,044,314, 3,134,842, AND OTHERS.


                                                               NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "ENERGY", APART FROM THE
                                                               MARK AS SHOWN.


                                                               THE MARK CONSISTS OF A STYLIZED LETTER "M" AND STYLIZED WORDS "MONSTER
                                                               ENERGY".


                                                               SN 77-705,822, FILED 4-2-2009.


                                                               JILL PRATER, EXAMINING ATTORNEY




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   Reg. No. 3,914,828                                          HANSEN BEVERAGE COMPANY (DELAWARE CORPORATION)
                                                               550 MONICA CIRCLE, SUITE 201
   Registered Feb. 1, 201 1                                    corona, ca 92880

   Int. CI.: 9                                                 FOR: SPORTS HELMETS, IN CLASS 9 (U.S. CLS. 21, 23, 26, 36 AND 38).


                                                               FIRST USE 1-0-2006; IN COMMERCE 1-0-2006.
   TRADEMARK
                                                               OWNER OF U.S. REG. NOS. 3,044,314, 3,134,842, AND OTHERS.
   PRINCIPAL REGISTER
                                                               NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "ENERGY", APART FROM THE
                                                               MARK AS SHOWN.


                                                               THE MARK CONSISTS OF A STYLIZED LETTER "M" AND THE STYLIZED WORDS
                                                               "MONSTER ENERGY".


                                                               SN 77-705,362, FILED 4-2-2009.


                                                               JILL PRATER, EXAMINING ATTORNEY




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Reg. No. 5,664,586          Monster Energy Company (DELAWARE CORPORATION)
                            1 Monster Way
Registered Jan. 29, 2019    Corona, CALIFORNIA 92879

                            CLASS 21: Beverageware; insulated beverage containers for domestic use; drinking bottles
Int. Cl.: 21                for sports; water bottles sold empty
Trademark                   FIRST USE 1-00-2010; IN COMMERCE 1-00-2010

Principal Register          The mark consists of a stylized letter "M" in the form of a claw above the words "MONSTER
                            ENERGY".

                            OWNER OF U.S. REG. NO. 3134841, 3923683, 3908601

                            SER. NO. 87-707,552, FILED 12-04-2017
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       REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

  Requirements in the First Ten Years*
  What and When to File:

       First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
       years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
       registration will continue in force for the remainder of the ten-year period, calculated from the registration
       date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

       Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
       for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


  Requirements in Successive Ten-Year Periods*
  What and When to File:

       You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
       between every 9th and 10th-year period, calculated from the registration date.*


  Grace Period Filings*

  The above documents will be accepted as timely if filed within six months after the deadlines listed above with
  the payment of an additional fee.

  *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
  extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
  (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
  The time periods for filing are based on the U.S. registration date (not the international registration date). The
  deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
  nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
  do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
  international registration at the International Bureau of the World Intellectual Property Organization, under
  Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
  date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
  international registration, see http://www.wipo.int/madrid/en/.

  NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
  USPTO website for further information. With the exception of renewal applications for registered
  extensions of protection, you can file the registration maintenance documents referenced above online at h
  ttp://www.uspto.gov.

  NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
  owners/holders who authorize e-mail communication and maintain a current e-mail address with the
  USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
  Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
  available at http://www.uspto.gov.




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                                                           MONSTER
                                                            ENERGY




   Reg. No. 4,865,702                    MONSTER ENERGY COMPANY (DELAWARE CORPORATION)
                                          1 MONSTER WAY
   Registered Dec. 8, 2015               corona, ca 92879

   Int. Cls.: 5 and 32                   FOR: NUTRITIONAL SUPPLEMENTS IN LIQUID FORM, IN CLASS 5 (U.S. CLS. 6, 18, 44,
                                         46, 51 AND 52).


   TRADEMARK                             FIRST USE 3-27-2002; IN COMMERCE 4-18-2002.


   PRINCIPAL REGISTER                    FOR: NON-ALCOHOLIC BEVERAGES, NAMELY, CARBONATED SOFT DRINKS; CAR
                                         BONATED DRINKS ENHANCED WITH VITAMINS, MINERALS, NUTRIENTS, PROTEINS,
                                         AMINO ACIDS AND/OR HERBS; CARBONATED ENERGY DRINKS AND SPORTS DRINKS,
                                         IN CLASS 32 (U.S. CLS. 45, 46 AND 48).


                                         FIRST USE 3-27-2002; IN COMMERCE 4-18-2002.


                                         OWNER OF U.S. REG. NOS. 4,036,680 AND 4,036,681.


                                         THE COLOR(S) GREEN, BLACK, AND WHITE IS/ARE CLAIMED AS A FEATURE OF THE
                                         MARK.


                                         NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "ENERGY", APART FROM THE
                                         MARK AS SHOWN.

             35         &                THE MARK CONSISTS OF A STYLIZED LETTER "M" IN THE FORM OF A CLAW DIS
         s                   9,          PLAYED IN GREEN ABOVE THE STYLIZED WORD "MONSTER" WHICH APPEARS IN
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         I                               THE COLOR WHITE, WHICH IS ABOVE THE WORD "ENERGY" WHICH APPEARS IN THE
                                         COLOR GREEN, ALL ON A BLACK BACKGROUND.
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                                         SER. NO. 86-521,176, FILED 2-2-2015.


                                         GEOFFREY FOSDICK, EXAMINING ATTORNEY




     Director of the United States
     Patent and Trademark Office
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                                    REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                             TRADEMARK REGISTRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
                        DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


        Requirements in the First Ten Years*
        What and When to File:


                    First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                   5th and 6th years after the registration date.   See 15 U.S.C. §§1058, 1141k.     If the declaration is
                   accepted, the registration will continue in force for the remainder of the ten-year period, calculated
                   from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
                   federal court.


                    Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                   Application for Renewal between the 9th and 10th years after the registration date.*
                   See 15 U.S.C. §1059.


        Requirements in Successive Ten-Year Periods*
        What and When to File:


                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and lOth-year period, calculated from the registration date.*


        Grace Period Filings*


        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.


        * ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
        an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
        (USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
        date).   The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
        those for nationally issued registrations.    See 15 U.S.C. §§1058, 1 141k.      However, owners of international
        registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
        underlying international registration at the International Bureau of the World Intellectual Property Organization,
        under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated
        from the date of the international registration.   See 15 U.S.C. § 1 1 4 1j .   For more information and renewal
        forms for the international registration, see http://www.wipo.int/madrid/en/.


        NOTE:     Fees and requirements for maintaining registrations are subject to change.            Please check the
        USPTO website for further information.          With the exception of renewal applications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.


        NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
        owners/holders who authorize e-mail communication and maintain a current e-mail address with the
        USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
        Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
        available at http://www.uspto.gov.




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   Reg. No. 3,963,668

   Registered May 17, 2011 550 monica circle
                *          CORONA, CA 92880
                                                               SUITE 201
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                                                               HANSEN BEVERAGE COMPANY (DELAWARE CORPORATION)




   Int. CI.: 16
                                                               FOR: STICKERS; STICKER KITS COMPRISING STICKERS AND DECALS; DECALS;
                                                               POSTERS, IN CLASS 16 (U.S. CLS. 2, 5, 22, 23, 29, 37, 38 AND 50).
   TRADEMARK
                                                               FIRST USE 1-0-2004; IN COMMERCE 1-0-2004.
   PRINCIPAL REGISTER
                                                               THE MARK CONSISTS OF A STYLIZED LETTER "M" IN THE FORM OF A CLAW.


                                                               SN 85-094,343, FILED 7-28-2010.


                                                               LEIGH LOWRY, EXAMINING ATTORNEY




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   Reg. No. 3,963,669

   Registered May 17, 2011 550 monica circle
                *          CORONA, CA 92880
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                                                               HANSEN BEVERAGE COMPANY (DELAWARE CORPORATION)




   Int. CI.: 18
                                                               FOR: ALL PURPOSE SPORT BAGS; ALL-PURPOSE CARRYING BAGS; BACKPACKS;
                                                               DUFFEL BAGS, IN CLASS 18 (U.S. CLS. 1, 2, 3, 22 AND 41).
   TRADEMARK
                                                               FIRST USE 5-24-2002; IN COMMERCE 6-30-2002.
   PRINCIPAL REGISTER
                                                               THE MARK CONSISTS OF A STYLIZED LETTER "M" IN THE FORM OF A CLAW.


                                                               SN 85-094,364, FILED 7-28-2010.


                                                               LEIGH LOWRY, EXAMINING ATTORNEY




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   Reg. No. 4,051,650

   Registered Nov. 8, 2011
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   Int. CI.: 25
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                                                               HANSEN BEVERAGE COMPANY (DELAWARE CORPORATION)
                                                               SUITE 201
                                                               550 monica circle
                                                               CORONA, CA 92880

                                                               FOR: CLOTHING, NAMELY, T-SHIRTS, HOODED SHIRTS AND HOODED SWEATSHIRTS,
                                                               SWEAT    SHIRTS,   JACKETS,   PANTS,    BANDANAS,   SWEAT   BANDS   AND   GLOVESj
   TRADEMARK                                                   HEADGEAR, NAMELY HATS AND BEANIES , IN CLASS 25 (U.S. CLS. 22 AND 39).


   PRINCIPAL REGISTER                                          FIRST USE 5-24-2002: IN COMMERCE 6-30-2002.


                                                               THE MARK CONSISTS OF A STYLIZED LETTER M IN THE FORM OF A CLAW.


                                                               SER. NO. 85-094.362. FILED 7-28-2010.


                                                               LEIGH LOWRY. EXAMINING ATTORNEY




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   Director of the United States Patent and Trademark Office
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                                    REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                             TRADEMARK REGISTRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
                        DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


        Requirements in the First Ten Years*
        What and When to File:


                   First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                   5th and 6th years after the registration date.   See 15 U.S. C. §§1058, 1141k.    If the declaration is
                   accepted, the registration will continue in force for the remainder of the ten-year period, calculated
                   from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
                   federal court.


                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                   Application for Renewal between the 9th and 10th years after the registration date.*
                   See 15 U.S.C. §1059.                                                    ~

        Requirements in Successive Ten-Year Periods*
        What and When to File:


                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and lOth-year period, calculated from the registration date.*


        Grace Period Filings*


        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.



          The United States Patent and Trademark Office (USPTO) will NOT send you any future notice or
                                           reminder of these filing requirements.


        * ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
        an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directly with the USPTO. The time periods for filing are
        based on the U.S. registration date (not the international registration date).   The deadlines and grace periods
        for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
        See 15U.S.C. §§1058, 1141k. However, owners of international registrations do not file renewal applications
        at the USPTO. Instead, the holder must file a renewal of the underlying international registration at the
        International Bureau of the World Intellectual Property Organization, under Article 7 of the Madrid Protocol,
        before the expiration of each ten-year term of protection, calculated from the date of the international
        registration. See 15U.S.C. § 1 1 4 1j . For more information and renewal forms for the international registration,
        see http ://www. wipo .int/madrid/en/.


        NOTE:     Fees and requirements for maintaining registrations are subject to change.           Please check the
        USPTO website for further information.         With the exception of renewal applications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.




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provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
       MONSTER ENERGY COMPANY, a Delaware                                                                  R&R MEDICAL, LLC d/b/a BEAR KOMPLEX, an Indiana
       corporation,                                                                                        limited liability company,
   (b) County of Residence of First Listed Plaintiff Riverside                                             County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)            Attorneys (If Known)
       James W. Riley, Jr. RILEY BENNETT EGLOFF LLP
       500 N. Meridian Street, Suite 550, Indianapolis, IN 46204
       (317)636-8000
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government               ✖ 3   Federal Question                                                                      PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                        Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                       of Business In This State

  2    U.S. Government                 4   Diversity                                              Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                  Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                              FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY               625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -              of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability          690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                      INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                  PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                               820 Copyrights                      430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                             830 Patent                          450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                             835 Patent - Abbreviated            460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                    New Drug Application            470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                   ✖ 840 Trademark                           Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                        LABOR                     880 Defend Trade Secrets            480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud                710 Fair Labor Standards               Act of 2016                         (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending               Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal             720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal                  Property Damage                Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage            740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability          751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                            Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS              790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:                 791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee                 Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                               870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                        Sentence                                                             or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                         871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                  IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment                  Other:                         462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other           465 Other Immigration                                                  950 Constitutionality of
                                          Other                       550 Civil Rights                   Actions                                                                State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3      Remanded from                4 Reinstated or             5 Transferred from    6 Multidistrict                       8 Multidistrict
    Proceeding             State Court                             Appellate Court                Reopened                    Another District        Litigation -                        Litigation -
                                                                                                                              (specify)               Transfer                            Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       15 U.S.C § 1114; 15 U.S.C. § 1125(a); 15 U.S.C. § 1125(a)
VI. CAUSE OF ACTION Brief description of cause:
                                       Complaint for Trademark and Trade Dress Infringement
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                             JURY DEMAND:                    Yes           No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                        JUDGE                                                                 DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
           05/26/2021
                                                                      /s/ James W. Riley, Jr.
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                      JUDGE                           MAG. JUDGE
JS 44 Reverse (Rev. 04/21)

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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                         Northern District
                                                      __________  District of
                                                                           of Indiana
                                                                              __________

    MONSTER ENERGY COMPANY, a Delaware                                    )
                corporation,                                              )
                                                                          )
                                                                          )
                            Plaintiff(s)                                  )
                                                                          )
                                v.                                               Civil Action No. 2:21-cv-179
                                                                          )
   R&R MEDICAL, LLC d/b/a BEAR KOMPLEX, an                                )
         Indiana limited liability company,
                                                                          )
                                                                          )
                                                                          )
                           Defendant(s)                                   )

                                                      SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) R&R MEDICAL, LLC d/b/a BEAR KOMPLEX, an Indiana limited liability company
                                       c/o Registered Agent
                                       MARISSA LYNN RICHIE
                                       295 E. 125TH PL.,
                                       CROWN POINT, IN, 46307




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:                    Steven J. Nataupsky, Lynda J. Zadra-Symes,
               James W. Riley, Jr.                      Sean M. Murray, Ari N. Feinstein
               Jaclyn M. Flint                          KNOBBE, MARTENS, OLSON & BEAR, LLP
               RILEY BENNETT EGLOFF LLP                 2040 Main Street, Fourteenth Floor
               500 N. Meridian Street, Suite 550        Irvine, CA 92614
               Indianapolis, IN 46204                   Phone: (949) 760-0404
               Tel: (317) 636-8000                      steven.nataupsky@knobbe.com; lynda.zadra-symes@knobbe.com
               jriley@rbelaw.com; jflint@rbelaw.com     Sean.Murray@knobbe.com; ari.feinstein@knobbe.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




                                                                                     CLERK OF COURT
Date:

                                                                                                   Signature of Clerk or Deputy Clerk
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 Civil Action No. 2:21-cv-179

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
